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                              Linguistic Consulting Service

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English Speech and Lipreading Assessment Report:

Vitali GossJankowski Dates of Testing: June 10 (initial meeting), September 19, 2022,
September 29, 2022 (focus on speech and lipreading); Age at time of testing: 33-34

Date of Birth: September 14, 1988.

Communication Assessment for: Celia Goetzl, Assistant Federal Public Defender

Case: United States v. Vitali GossJanowski, 21-cr-123 (PLF)

Date of Submission: January 5, 2022

Objective: We have been retained by the Federal Public Defender's Office to conduct a
communication, cultural, and developmental assessment of Vitali GossJankowski, the
defendant in the case: United States v. Vitali GossJanowski, 21-cr-123 (PLF). As part of
that assessment, the objective of this evaluation is to assess Mr. GossJankowski's ability
to speak and understand spoken English, or lipread.

List of items considered in making this assessment:

Background conversation
Cultural profile
Lipreading Task
Narrative Elicitation Materials:
   • Mr. Koumal Flies Like a Bird (1.5-minute non-verbal cartoon)
   • Mr. Koumal Battles his Conscience (1.5-minute non-verbal cartoon)
Materials provided to us by the attorneys:
   • National Deaf Academy records

Evaluator: Dr. Judy Shepard-Kegl, Ph.D., NIC-M, SC: L, CI/CT, CSC, OTC, ED: K-12,
NAD-IV, Core-CHI, QMHI
From the National Registry of Interpreters for the Deaf:
Generalist Certificates: Comprehensive Skills Certificate (CSC), Certificate of Interpretation (CI), Certificate of
Transliteration (CT), National Interpreter Certification (NIC-Master)
Oral Transliteration Certificate (OTC)
Specialist Certificate: Legal (SC:L)
NAD-IV (recognition of National Association of the Deaf Certification-Level IV)
Educational Certification: K-12 (recognition of EIPA Certification)
Educational Interpreter Performance Assessment (EIPA)-six certifications: ASL (elementary and secondary).
PSE (elementary and secondary), MCE (elementary and secondary)



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From the Board of Evaluation of Interpreters, Texas (BEI):
BEI-Master

From the Certification Commission for Healthcare Interpreters:
Core-CHI (Core Certification Health Care Interpreter; from the Certification Commission for Healthcare
Interpreters)

From the Alabama Department of Mental Health:
Qualified Mental Health Interpreter (QMHI)

Education:
B.A. in Anthropology (Brown University)
M.A. in Linguistics (Brown University, Thesis: Some Observations on Bilingualism: Look at Data from Slovene-
English Bilinguals)
Ph.D. in Linguistics (M.I.T., Dissertation: Locative Relations in American Sign Language Word Formation, Syntax
and Discourse
Postdoctoral studies: Center for Molecular and Behavioral Neuroscience, Rutgers, The State University of New
Jersey)
Master Mentor Certificate, Project T.I.E.M., Northeastern University
Legal Interpreter Certificate Program, Front Range Community College
Training and Approval: (Culturesmart, Inc.; to teach The Essential Piece curriculum in medical interpreting)


Dr. Shepard-Kegl offers her opinion as a linguist specialized in theoretical and
neurolinguistics, an interpreter with national credentialing, and as an interpreter trainer.

She is a native speaker of English who is also fluent in American Sign Language (ASL).
She did her bachelor's level work in linguistic anthropology as well as her master's level
work in linguistics and bilingualism at Brown University. She completed her Ph.D. work
in theoretical linguistics at the Massachusetts Institute of Technology, with a dissertation
on word formation, syntax and discourse in ASL. She has taught and worked in
linguistics, cognitive science, and psychology research laboratories at Northeastern
University and Princeton University, where she also consulted with Educational Testing
Services on an ASL Developmental Assessment with Dr. Judith Mounty. She did her
senior postdoctoral work in cognitive neuroscience at the Center for Molecular and
Behavioral Neuroscience at Rutgers, the State University of New Jersey and was
eventually hired there as a Research Assistant Professor of Neuroscience, before moving
to her current position in linguistics at the University of Southern Maine, where she
teaches linguistics and interpreting, directs the Signed Language Research Laboratory, and
developed and currently coordinates the ASL/English Interpreting Concentration of the
Linguistics major. She has served as a Principal Investigator on grants from both the
National Science Foundation and the National Institutes of Health. She engages in
linguistic, neurolinguistic, and cultural research in both spoken and signed languages.
Her research is both nationally and internationally recognized.



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She is also nationally credentialed and working as an ASL/English interpreter with
specializations in legal interpreting, educational interpreting, medical, and mental health
interpreting, in addition to being nationally certified in oral transliteration. She has
consulted extensively on both the assessment of interpreting (both spoken and signed),
ASL language development, and language breakdown (Aphasia and Parkinson disease).
She has served as a consultant on the development of the national assessments for the
Cued Speech version of the Educational Interpreter Performance Assessment (EIPA-CS),
the Core Certified Healthcare Interpreter Assessment, and most recently on the Registry
of Interpreters for the Deaf Task Force exploring the structure of a future assessment for
legal interpreters.

She has both produced reports and/or testified in deposition and at trial in over 100
cases. Dr. Shepard-Kegl has been admitted as an expert in courts in Maine, Minnesota,
Oregon, Missouri, Louisiana, New Jersey, New York, Pennsylvania, Rhode Island, and
Georgia.

Dr. Shepard-Kegl, who can hear and has full access to English and its communities of
users, as well as a lifetime of experience navigating a hearing world via sound, brings to
this expert team native language competency in English, in addition to fluency in ASL.
She was raised in a bilingual/bicultural Slovene/English home, where English was the
dominant language. She currently lives in a trilingual English/ASL/Nicaraguan Sign
Language (ISN) household with her hearing spouse, Deaf daughter, and hearing
grandson and has experienced being the mother of a Deaf child in a Deaf school and
mainstream setting. Her research and teaching experience include theoretical linguistics,
bilingualism, neurolinguistics, and cultural research in not only spoken and signed
languages, but also in emergent languages and cases of language deprivation.


Methodology: Elicitation, Text Analysis (linguistic analysis, coding)
Every day, when Dr. Shepard-Kegl walks into an interpreting assignment she is making

judgments about the language background and language needs of the consumers that

she works with. She does this through interacting and conversing with them. This is an

informal means of eliciting the data she needs to make decisions regarding her

interpreting approach. What she did in this report is similar, but on a larger scale. She

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gathered the information needed regarding the Deaf individual in this case that would

allow her to offer an expert opinion on his communication in the context of her expertise

in linguistics, interpreting, Deaf education, ASL, and Deaf culture.

The standard methodology used in the linguistic profession is elicitation and linguistic

analysis, typically text analysis. The process is very much like the experimental method.

A hypothesis is posed and data are elicited to help us to confirm or disconfirm the

hypothesis. Standardized testing will not give us the individualized data that we need to

inform our opinion. Deaf people are far too diverse and their language backgrounds are

very heterogeneous. We need to look at each Deaf individual in an individualized way,

using a single case study methodology. The need for individualized assessment is noted

by almost every researcher in the field of deafness, especially regarding reading abilities.

Some of these opinions are addressed quite well in Mounty and Martin (2005).1



Background on Speech and Lipreading Evaluation

Spoken English Competency (General Background)

We elicit a sample of spoken English using two 1.5-minute, nonverbal Czech cartoons:

Mr. Koumal Flies like a Bird and Mr. Koumal Battles his Conscience. The Deaf individual

views the cartoon as many times as is needed (typically 2) and is asked to recount the

story three ways: signed, written, and spoken. For comparison purposes, the content of

the cartoons is written in the double-lined boxed below:


        Mr. Koumal Flies Like a Bird is about a man who climbs a mountain with a
        pickaxe, and seeing a bird flying about, decides he wants to do the same thing.
        He tries to fly and fails. The bird sees him and laughs, causing some feathers to
        fall off. Mr. Koumal puts them on his arms, tries again, and fails. The bird,
        laughing even harder, loses all its feathers. Koumal gathers them up and puts
        even more on, tries, and again fails, falling into a chicken coop. At night takes


1
 Mounty, Judith and Martin, David S. (eds.) 2005. Assessing Deaf Adults: Critical Issues in Testing and
Evaluation. Washington, D.C.: Gallaudet University Press

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      feathers from all the birds in the coop, which he leaves completely naked looking
      up at him, puts them all over his body, creating heavy, elaborate wings, and tries
      again. He swoops a few times and crashes into the side of the mountain, which
      collapses upon him. As he crawls out of the rubble, he gets an idea. He decides
      to use the feathers to make Indian headdresses and sell them to children for
      money.


      In Mr. Koumal Battles his Conscience, Mr. Koumal is standing outside of a
      restaurant and sees a beggar. He feels generous and drops a coin into the
      beggar’s hat. A rich woman comes up and does the same, but in so doing, a
      large bundle of money falls unnoticed from her purse. Mr. Koumal sees it fall
      and battles with himself (in the form of a devil and angel taking control of him)
      over whether to take the money and have cars, riches, and world travel; or to
      return the money and be hugged by St. Peter as he enters the gates of heaven.
      While his good and evil side battle things out, the beggar sneaks in and steals the
      money. In the end, Mr. Koumal stands outside the restaurant with his pockets
      empty and his hand extended. The beggar drives by in a huge car and tosses
      him a coin, which lands in the palm of his hand.

The spoken version is used for the analysis of speech.

Speech Skills

Spoken English Competency is assessed in three ways: for quality, intelligibility and for

the impact that it has on communication.


Speech Quality

The assessment of speech quality is made by observing a number of features. Does the

Deaf individual produce recognizable syllables? If the word is multisyllabic, can each

distinct syllable be discerned? Are the vowels in each syllable recognizable as the

intended target articulation? Are the consonants clearly articulated and can they be

recognized? Are the onsets and offsets of the syllable produced and recognizable? Are

consonant clusters reduced or omitted? Are voiced versus voiceless distinctions made?




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Is the amplitude (loudness) of the speech controlled? And finally, is prosody (intonation)

maintained while speaking or is the production more halting and staccato?


Speech Intelligibility

The intelligibility of speech is looked at in two ways, with and without visual cues.

Remember that we know the content of the passage, so we have an advantage in terms

of recognizing speech produced that individuals unfamiliar with the text would likely

miss. At times we will play the speech for someone unfamiliar with the text to get a sense

of what it would be like to understand without context. In addition, Dr. Shepard-Kegl,

who assesses this component of the testing, is a certified Oral Transliterator (OTC) and is

proficient lipreader familiar with Deaf speech. So, her assessment gives an advantage to

the speaker.


Auditory monitoring alone

Dr. Shepard-Kegl listens to the spoken sample and determines a rough percentage of

what she can recognize without lipreading the Deaf individual. This is most indicative of

what an individual unfamiliar with Deaf speech and not trained or experienced in

lipreading would experience.


Lipreading and auditory monitoring

Dr. Shepard-Kegl then looks at the signer while monitoring the speech to see to what

extent lipreading aids her understanding. In addition, she carefully transcribes the

spoken narrative to the best of her ability stopping and rewinding the tape, and attending

to any signing that may be concurrent with the speech, etc.


Lipreading




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Lipreading is a very labor intensive and difficult task. Even strong lipreaders tire quickly,

and with fatigue ability to lipread declines. Many words look alike (are homophenous).

Every mouth shape has at least three different sounds associated with it. It is reported

that only 30-40 of information in the speech signal is visually available.2


If one looks in a mirror the words in each of the rows below look identical:


                 PAN            MAD
                 BAT
                 NAP            DAM
                 TAB



    The following video link by Rachel Kohl gives the hearing viewer a sense of what the

    lipreading experience is like: https://https://www.youtube.com/watch?v=n1jLkYyODsc


Lipreading Task. The stimuli for the lipreading task include within them words and

sentences taken from a list of words taken from the Wide Range Achievement Test

(WRAT) as well as sentences and phrases taken from lipreading assessment used by the

Central Institute for the Deaf (CID), but the list is expanded to include additional highly

expected stimuli, low expected stimuli, and some phrases and sentences expected to be

encountered in employment, medical, and law enforcement contexts. The lipreading task

involves two presentations of each stimulus (either a word or whole phrase or sentence).



2
 Nitchie, E.P. (1916). The use of homophenous words. The Volta Review, 18, pp. 85-93. Berger, K.W. (1972).
Visemes and homophenous words. Teacher of the Deaf, 70, pp. 396-399.
  Erber, N.P. (1974). Visual Perception of Speech by Deaf Children: Recent developments and continuing
needs. Journal of Speech and Hearing Disorders, 39, pp. 283-287.
   Kuhl, P. K., & Meltzoff, A. N. (1988). Speech as an intermodal object of perception. In A. Yonas (Ed.), Perceptual
development in infancy: The Minnesota Symposia on Child Psychology (Vol. 20, pp. 235-266). Hillsdale, NJ: Erlbaum.




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Each presentation is loud and very precise. There are 64 lipreading stimuli in all: 17 single

words and 47 phrases of varying length.


Having had speech training is no assurance of success. Ambiguity and guessing are

inherent in this system, where most of the articulatory distinctions are hidden within the

mouth (vibration of the larynx, dropping of the velum, laxing of the pharynx, etc.).


Note that the lipreading conditions under which these stimuli are presented are ideal.

The room is well-lit and quiet. The examples are repeated, sometimes more than twice,

face to face and in close proximity by a certified oral transliterator trained to produce

clear speech. The goal is to capture the deaf individual’s best lipreading under the best

conditions. Such ideal conditions cannot be replicated in most of the Deaf individual’s

daily interactions with hearing individuals.


As a result of the need to do testing at a distance because of COVID-19 restrictions,

lipreading assessment is currently being done virtually face-to-face using Zoom. This

allowed for both clear presentation and the ability to repeat or not as the Deaf individual's

responses dictate. We have done the lipreading assessment at a distance in previous cases

as well and the results are parallel. There is the added advantage that both the stimuli

and the responses are available in the Zoom recording.




Lipreading Words

The single words are all words a Deaf individual would typically be expected to know

(milk, city, in, tree, animal, himself, between, chin, split, form, crazy, stretch, theory, contagious,

grieve, toughen, and aboard).


Lipreading Sentences and Phrases



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The words and phrases were constructed to feature several different characteristics:

highly routinized expressions that a deaf lipreader would encounter frequently (e.g.,

What’s your address?; What time did you show up for work this morning?); sentences that are

infrequent (e.g., I like to visit the zoo; The circle is a round drawing); numbers alone (42, 1996)

and numbers in context (e.g., President Kennedy was shot in 1963); sentences that might be

encountered in a medical or law enforcement context (e.g., Do you have a living will?; You

have the right to remain silent); and a few phrases that are known to be homphenous (look

alike) on the lips (e.g., green beads, red beans). There is also a case near the end of an

unfamiliar vocabulary item that one might be able to lipread, but which may not be on

one’s repertoire (We found a nodule.) The full list of items appears below:

       1. The cat has fur.
       2. Bob can run fast.
       3. His arm hurt.
       4. The train was crowded.
       5. If you shout, he’ll hear you.
       6. Put down the correct answer.
       7. The circle is a round drawing.
       8. Heaven surrounds the earth.
       9. Parents educate their children.
       10. The material was expensive.
       11. The house was in ruin after the fire.
       12. Can you understand me?
       13. What's your name?
       14. How many children do you have?
       15. What's your address?
       16. Can you tell me your social security number?
       17. What's your telephone number?
       18. Do you have a tty?
       19. I like to visit the zoo.
       20. The dress is now in fashion.
       21. I believe you are right.
       22. My suggestion was followed.
       23. What time did you show up for work this morning?
       24. How long have you been working here?
       25. When's the last time you met Fred?
       26. What's your mother's maiden name?
       27. Do you have a living will?
       28. What is your retirement plan?
       29. President Kennedy was shot in 1963.

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       30. My family lives in (name of city), but I have a cousin that lives in (name of
       city or county).
       31. What's your favorite movie?
       32. seven
       33. 42
       34. 1996
       35. When did you graduate from high school?
       36. Have you ever had a transfusion?
       37. Do you own your house?
       38. How old is your son?
       39. red beans
       40. green beads
       41. Are you aware of your rights?
       42. You have the right to remain silent.
       43. You will need to have chemotherapy.
       44. You have an appointment for the twenty-first.
       45. We will need to reschedule you for the eighteenth.
       46. We found a nodule.
       47. Your test was positive.

When a person has extreme difficulty with this task, we will also present very common

items like their name, thank you, I love you, etc.; telling them we are saying numbers and

asking them to identify which ones; or in extreme cases where an individual may have

cognitive limitations, presenting a word and having the individual choose items from a

set of four pictures.



Impact on communication

Finally, we look at the impact on communication. How comfortable is the Deaf

individual using speech? Does the speech have characteristics that might juvenilize the

Deaf individual in the minds of others? Does the Deaf individual limit speech to words

that can be pronounced or does the Deaf individual struggle with speech result in putting

out less information?


Individual Assessment: Vitali GossJankowski (male, 34)

Linguistic/Cultural Profile



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Mr. GossJankowski was born deaf in the former U.S.S.R. (Russia). Records indicate that
his birth mother was also deaf, so we assume his deafness to be hereditary. She gave him
up at birth and he was placed in an orphanage, where he remained until age five. At that
point, he was adopted and raised by a Deaf same-sex couple, both of whom were fluent
in American Sign Language (ASL) and immersed in Deaf culture. He attended residential
schools for the Deaf through his graduation from high school, where he was educated for
the most part directly in ASL and without the use of interpreters. He currently works for
Door Dash, which is a job requiring little interaction in English to perform, allowing him
to work without the requirement of lipreading or speaking English on a daily basis. He
lives with two deaf roommates and a hearing roommate. Mr. GossJankowski's primary
and preferred means of communication and the language in which he most reliably
produces and comprehends information is ASL, or an English-influenced form of ASL.
His primary means of communicating with people who can hear is typically texting,
writing notes, gesturing, or communicating through signing friends.


Spoken English Competency
Mr. GossJankowski's speech is not intelligible.

Speech.
After signing and writing renditions of the two 1.5-minute Mr. Koumal cartoons, Mr.
GossJankowski was asked to speak a rendition of each of the Koumal cartoons. He was
not comfortable speaking, in both a psychological and physical sense. His different
comfort level in ASL versus English is evident when comparing the videos of his signed
narratives with his spoken narratives. When trying to speak he exhibits clear
embarrassment and discomfort. While cooperating and doing his best, at several points
he comments that he really cannot speak. In speaking, he needed to read from his written
text or sign concurrently to even keep the speech flowing.


Speech Quality.
Mr. GossJankowski's speech samples appear below, using International Phonetic
transcription (IPA). To transcribe this speech, Dr. Shepard-Kegl needed to rely upon
Mr. GossJankowski's written renditions of his Koumal narratives. Without these



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supporting documents, recognition of his speech targets would have been completely
unrecognizable.


       Mr. Koumal Flies like a Bird (spoken)    Vitali GossJankowski
       ʌay us. may         t̬ʃuw tʌgɛ tap maʊn.
       a guy use mining tool        to get top mountain

       i  sart    æ       æpɪlali          a tap. t̬ʃɪl. i tʊ
       he started dancing happily          on top hill. he took...



       Mr. Koumal Battles his Conscience (spoken)     Vitali GossJankowski
       omlɛs     bɛ fʌ әmʌɪ.      ʌlʌ [laughs nervously]
       homeless. beg. for money Adult......

       ʌlʌ ʌvʌ homәle ey cæpʌ. pʊ ɑ: pʊpә.
       Adult. give a homeless guy cap Put aaa woman.

       ɪv oyn æpә
       give coin cap

       dʌðә [Signs, I can't. Reading again, signing while speaking.]
       ???

       omlɛs    stæn sɔ pʊɛ pʊ If
       homeless stand saw put in purse give

       lʊ kɪ im.       ʌ ay pʊt̬ʃ dɛfʌ
       look at him     a guy punch devil

       tʊk ʌ mʌ-ɪ pey
       take the money spend. [Signs, it's hard. I can't.]

       Dr. Shepard-Kegl asks, "What happened at the end?"

       fʌ-i fay ey mʌ-i. owey         [signs the final part]
       fight fight take money go away


       Mr. GossJankowski's speech has a low amplitude and at times there is no
phonation (sound) accompanying his speech. The pitch of his voice varies. At times it
rises to a very high pitch; at other times it lowers to a more gravely pitch. Vowels tend
to be centralized to a schwa sound, losing all distinctions. Initial and final consonant
clusters are simplified and frequently omitted. Many consonants when produced are
imprecise in their placement in the mouth as well as their articulation. Alveolar sounds
like /t/ and /s/ are often palatalized to /t̬ʃ / (a "ch" sound).



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Intelligibility.
       Mr. GossJankowski’s speech production is completely unintelligible. With
repeated viewing, knowing the story, and eventually referring to his written transcript,
recognition of his speech was still extremely difficult and unreliable. The best way to
appreciate the poor quality of his speech is to listen to the two attached videos of his
speech production: Koumal Bird Spoken VGJ 9/29/22.mp4 and Koumal Conscience
Spoken VGJ 9/29/22.mp4.


Auditory monitoring alone.
With auditory monitoring alone, GossJankowski's speech was completely unintelligible.
He is unable to rely upon speech for access to communication.

English Lipreading Proficiency

The other side of communicating through speech is using lipreading to receptively
process the speech of others. The lipreading task involves two presentations of each
stimulus (either a word or whole phrase or sentence). Each presentation was loud and
very precise. If Dr. Shepard-Kegl felt Mr. GossJankowski was close, she would sometimes
repeat the item more than twice. We were on Zoom with Mr. GossJankowski viewing Dr.
Shepard-Kegl’s face full screen. In the video we see Mr. GossJankowski full screen, his
view was of Dr. Shepard-Kegl full screen. Each word, phrase or sentence was enunciated
clearly and loudly, allowing the best possible chance of being understood.


Mr. GossJankowski was tested under ideal conditions. The room was well-lit and devoid
of background noise. We were directly facing each other one-on-one over a Zoom screen.
Items were repeated and the stimuli were produced by a certified oral transliterator
(OTC) trained to produce clear speech.


Lipreading Words. Of the 17 words, Mr. GossJankowski correctly identified 2/17 (12%).
While he scored very poorly in lipreading words, his guesses showed clear attempts at
phonemic processing. For example, for the word tree, he guessed you read. If we analyze
the word read phonetically, we see that he guessed the vowel correctly as well as the onset
to that vowel which was an /r/. The /d/ is also the voiced equivalent of /t/. For animal,
he guessed mail, getting the initial and final consonants of the final syllable. For himself,
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he actually responded self, but in his second change he moved farther rather than nearer
to the lipreading target. For chin, he responded with check, which has the same initial
consonant and a vowel that like [I] is made in the front of the mouth. The same is true for
his response of the for theory. In these two words the initial consonants, while spelled the
same, are actually pronounced differently, one is voiced (the; ð, a voiced interdental

continuant consonant where the vocal cords vibrate) and the other is unvoiced (theory; θ,
an unvoiced interdental continuant consonant, where the vocal cords don't vibrate).
There is no way to see the difference between a voiced versus unvoiced consonant on the
lips. When he responded basking for split, he picked up on the /p/ and the /I/ sounds.


The two words he got correct were form and crazy. The word form is one of the more
frequently and easier words to lipread. When Dr. Shepard-Kegl produces the words
crazy and grieve, she produces an accompanying facial expression to see if that facial
gesture supports the lipreading. Mr. GossJankowski picked up on that facial expression.


Lipreading Sentences and Phrases. Of the 47 sentences and phrases, Mr. GossJankowski
correctly identified only 3 out of 44 (6%). All three of the sentences he was able to lipread
are highly frequent and highly routinized: Can you understand me?; What's your name?;
and the number seven. Numbers are notoriously easier for deaf lipreaders to recognize.
Still, he got only 3 out of the 16 highly routinized sentences and numbers in the task. In
some of the items he would catch a word or phrase: Bob can run fast; The material was
expensive; The house was in ruin after the fire; What's your address?; Can you tell me your social
security number?; Have you ever had a transfusion?; Do you own your house? How old is your
son?

Mr. GossJankowski's lipreading results are summarized below:




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Mr. GossJankowski’s lipreading is poor—so poor that within sentences he cannot catch
enough to make a good guess at the overall meaning.

Impact on communication
Of the total 64 stimuli, he got 5 correct (8%). Mr. GossJankowski is a poor lipreader. In
fact, his lipreading skills are negligible. He is unable to rely upon lipreading for access to
communication in even the most basic situations.
Expert Opinion:
In my expert opinion as a linguist, oral transliterator, and interpreter and based upon my

assessment of Mr. GossJankowski's speech, he is neither comfortable nor competent at

spoken English. His speech is completely unintelligible and practically non-existent. He

is unable to rely upon speech for access to communication. He never spoke during our

time with him except during his required attempts to speak during the speech task.



In my expert opinion as a linguist, oral transliterator, and interpreter and based upon my

assessment of Mr. GossJankowski's lipreading abilities, Mr. GossJankowski is completely

unable to understand spoken English. His lipreading skills are negligible. He can

comprehend less than 8% of verbal communication through lipreading under ideal

environmental conditions.       He is unable to rely upon lipreading for access to

communication in even the most basic situations.              In my expert opinion, Mr.

GossJankowski is completely unable to access information via lipreading.



In my expert opinion and based upon my assessment of Mr. GossJankowski, at no time

during the events of January 6th (including the rally, march, and events at the Capital)

could he have accessed or shared communication with anyone (other participants or law

enforcement officers) via lipreading and speech.




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I reserve the right to expand or amend this report at a later time should new evidence

be introduced.




Dr. Judy Shepard-Kegl

January 5, 2023




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